Case 2:03-cV-02849-.]DB-tmp Document 91 Filed 05/10/05 Page 1 of 2 Page|D 106

lN THE UNLTED sTATEs DIsTRICT COURT F"-ED F'Y“=' ,`/”z'- D-O-
FOR THE WESTERN DISTRICT oF TENNESSEE i_
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MARK REED, FRED PARROTT, AND \§f,-§H§Se_ %j¢-|§j- §?§_l,`%-P,‘jfé
TRoY WINGO, `J ""` `J' ' '_`
Plaintiffs,
V.
LEDIC MANAGEMENT CO. a/kfa LEDIC CIVIL ACT[ON NO_ 03_2849 B P
MANAGEMENT GRoUP,
Defendant.

 

 

ORDER GRANTING
RENEWED MO'I`I()N AND MEMORANDUM TO EXCEED PAGE LIMITATION
FOR SUMMARY JUDGMENT AS TO EACH PLAINTIFF

 

Having reviewed the Renewed l\/Iotion of Defendant LEDIC Realty Management
Services, Inc. to exceed the page limitation for summary judgment as to each Plaintiff, and
considered the Certificate of Consultation filed therewith, the Court finds that said motion is Well
taken and is hereby GRANTED. § Defendant’s motions shall be deemed filed on April 20, 2005.

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so oRDERED this 06 day Of May 2005.

  
  

c

 

J. ` NIEL BREEN \`
UN TED sTATEs DlsTRIC JUDGE

MEMPHISZ l 52679.]

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Honorable .l. Breen
US DISTRICT COURT

